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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY                                               Order Filed on August 30, 2022
Caption in Compliance with D.N.J. LBR 9004-1                         by Clerk
                                                                     U.S. Bankruptcy Court
                                                                     District of New Jersey
SILLS CUMMIS & GROSS P.C.
S. Jason Teele, Esq. (steele@sillscummis.com)
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Counsel to the Debtors
and Debtors-in-Possession


In re:

NATIONAL REALTY INVESTMENT ADVISORS,                             Chapter 11
LLC, et al.1
                                                                 Case No. 22-14539 (JKS)
                        Debtors.
                                                                 (Jointly Administered)


                         ORDER AUTHORIZING THE DEBTORS
                   TO ASSUME CERTAIN CONTRUCTION CONTRACTS

          The relief set forth on the following pages, numbered two (2) through and three (3), is

hereby ORDERED.


    DATED: August 30, 2022




1
        A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://omniagentsolutions.com/NRIA. The location of the Debtors’
service address is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.


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Debtor: National Realty Investment Advisors, LLC, et al.
Case No. 22-14539
Caption: Order Authorizing the Debtors to Assume Certain Construction Contracts
          Upon consideration of the motion (the “Motion”)2 of the Debtors for entry of an order

this (“Order”) (a) authorizing the Debtors to assume the Construction Contracts, (b) authorizing

payment of cure costs, and (c) granting related relief; and it appearing that the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

District of New Jersey, entered on July 23, 1984, and amended on September 18, 2012

(Simandle, C.J.); and consideration of the Motion and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper in this district pursuant to

28 U.S.C. §§ 1408 and 1409; and the Court having determined that granting the relief requested

in the Motion is in the best interests of the Debtors, their estates and creditors; and it appearing

that notice of the Motion is sufficient under the circumstances; and any objections to the

requested relief having been withdrawn or overruled; and after due deliberation and sufficient

cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

          1.      The Motion is granted to the extent set forth herein.

          2.      The Debtors are hereby authorized, but not directed, to assume the contracts listed

on Exhibit A hereto (the “Assumed Construction Contracts”) pursuant to sections 105(a) and

365(a) of the Bankruptcy Code.

          3.      Upon assumption of the Assumed Construction Contracts pursuant to paragraph 2

hereof, the Assumed Construction Contracts shall be deemed valid and assumed as of the date of

this Order and the Debtors are authorized to perform the Assumed Construction Contracts

according to their terms.

          4.      The Debtors are authorized and directed to pay the cure costs associated with the

Assumed Construction Contracts upon assumption thereof.



2
          Capitalized terms used but not defined shall have the meanings ascribed to them in the Motion.

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Debtor: National Realty Investment Advisors, LLC, et al.
Case No. 22-14539
Caption: Order Authorizing the Debtors to Assume Certain Construction Contracts
          5.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

          6.   The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

          7.   The Debtors shall serve by regular mail a copy of this Order and the Motion on all

parties required to receive such service pursuant to D.N.J. LBR 9013-5(f) within two (2) days

after entry of this Order.

          8.   The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

          9.   The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




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                                     Exhibit A

                    Schedule of Assumed Construction Contracts




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                                                                 1300 Manhattan – Union City

            Counterparty                                                     Contract1, 2                                            Cure Amount

    Union City Board of                  Agreement For the Payment of Parking Fees Between the City of
    Education                            Union City Board of Education and Manhattan Avenue Capital LLC                          $100,000.00
                                         dated November 30, 2021
    DMR Construction Services,           AIA Standard Form of Agreement dated September 10, 20193
    Inc.                                                                                                                         $207,491.07




1
    Each contract listed herein shall include all amendments, supplements, schedules, change orders, purchase orders, and other addendum relating thereto.
2
    The Debtors are not assuming any joint venture or similar agreements with the applicable contract counterparties.
3
 For the avoidance of doubt, the Debtors assumption of the Subcontract Agreement with DMR Construction Services, Inc. shall not include assumption of that
certain Joint Venture Agreement (JVA) Between National Realty Investment Advisors & DMR Construction Services Inc. dated August 17, 2019. The Debtors are
currently reviewing and analyzing the JVA with their professionals and reserve all of their rights with respect thereto.



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                                                                   62-68 69th St - Guttenberg

            Counterparty                                                     Contract4, 5                                           Cure Amount

    D&B Service Group LLC               Proposal dated December 17, 2021                                                        $613,817.99




4
    The Debtors’ assumption of each Construction Contract shall include all amendments, supplements, schedules, and purchase orders relating thereto.
5
    The Debtors are not assuming any joint venture or similar agreements with the applicable contract counterparties.



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                                                              4901 Bergenline – West New York


            Counterparty                                                     Contract6, 7                                            Cure Amount

    Advanced Scaffolding                 Subcontract Agreement dated December 9, 2020 and effective
    Services LLC                         December 9, 2020                                                                        $1,843.00

    All-City Metal, LLC                  Subcontract Agreement dated October 29, 2019 and effective November $0.00
                                         12, 2019
    All State Electrical                 Subcontract Agreement dated May 28, 2021 and effective June 1, 20201
    Construction                                                                                              $67,837.008

    API Contractors                      Subcontract Agreement dated June 18, 2021 and effective June 18, 2021                   $0.00

    BYN Iron Works                       Subcontract Agreement dated August 9, 2021                                              $0.00

    Construction Pros, LLC               Subcontract Agreement dated December 18, 2019 and effective January                     $0.00
                                         1, 2020
    Core Glazing Solutions,              Subcontract Agreement dated November 16, 2020 and effective
    LLC                                  November 16, 2020                                                                       $69,090.00

    Custom Stone by Frank,               Subcontract Agreement dated June 9, 2021 and effective June 10, 2021
    LLC                                                                                                                          $0.00

    Devine Roofing and                   Subcontract Agreement dated June 18, 2021 and effective June 18, 2021
    Contracting LLC                                                                                                              $96,172.00




6
    Each contract listed herein shall include all amendments, supplements, schedules, change orders, purchase orders, and other addendum relating thereto.
7
    The Debtors are not assuming any joint venture or similar agreements with the applicable contract counterparties.
8
    Such amount is subject to further reconciliation between the Debtors and All State Electrical Construction.



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    DMR Construction                AIA Standard Form of Agreement dated September 10, 20199
    Services, Inc                                                                                                         $522,894.30

    Dyer Insulations                Subcontract Agreement dated August 2, 2021                                            $0.00

    Fredon Welding and Iron         Subcontract Agreement dated February 19, 2021 and effective February
    Works                           19, 2021                                                                              $0.00

    HVAC Boss LLC Heating           Subcontract Agreement dated April 18, 2020 and effective September
    & Cooling                       14, 2020                                                                              $18,000.00

    Johnson Fitness and             Subcontract Agreement dated September 13, 2021 and effective
    Wellness                        September 13, 2021                                                                    $0.00

    Klaus America Parking           Subcontract Agreement dated October 23, 2019 and effective November
    Systems                         6, 2019                                                             $0.00

    Kone, Inc.                      Subcontract Agreement dated October 22, 2019 and effective November $0.00
                                    5, 2019
    Marble Systems                  Purchase Order dated June 7, 2021                                   $0.00

    Meli Plumbing & Heating,        Subcontract Agreement dated January 27, 2020 and effective February
    Inc.                            10, 2020                                                                              $146,399.89

    Millennium Fire Protection      Subcontract Agreement dated October 23, 2019 and effective November $0.00
                                    6, 2019
    Monitex Security Inc.           Subcontract Agreement dated May 24, 2021 and effective May 24, 2021 $4,529.00




9
 For the avoidance of doubt, the Debtors assumption of the Subcontract Agreement with DMR Construction Services, Inc. shall not include assumption of that
certain Joint Venture Agreement (JVA) Between National Realty Investment Advisors & DMR Construction Services Inc. dated August 17, 2019. The Debtors are
currently reviewing and analyzing the JVA with their professionals and reserve all of their rights with respect thereto.



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 MT General Contractors,       Subcontract Agreement dated August 27, 2021
 INC.                                                                                                  $34,129.00

 Respro Cabinets LLC           Purchase Order dated June 24, 2021                                       $31,500.00

 Roy Rock, LLC                 Subcontract Agreement dated January 20, 2020 and effective January 3,   $0.00
                               2020
 Tile it and more              Subcontract Agreement dated May 28, 2021 and effective June 1, 2021      $201,166.00

                               Subcontract Agreement dated September 15, 2021 and effective
                               September 15, 2021

                               Subcontract Agreement dated December 20, 2019 and effective January
                               3, 2020

 Translucent Security, LLC     Subcontract Agreement dated September 27, 2021 and effective            $40,025.00
                               September 27, 2021
 Valex Enterprises             Subcontract Agreement dated February 8, 2021 and effective February     $131,920.00
                               8, 2021
 Virtual Service (VDM)         Subcontract Agreement dated September 15, 2021 and effective            $0.00
                               September 15, 2021




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                                                         508 51st and 511 52nd St – West New York

             Counterparty                                                   Contract10, 11                                           Cure Amount

 Sordoni Construction                     AIA Standard Form of Agreement dated July 9, 2021                                       $2,236,936.85

 Francisco Crespo                         Lease Agreement dated September 1, 2021                                                 $0.00




10
     Each contract listed herein shall include all amendments, supplements, schedules, change orders, purchase orders, and other addendum relating thereto.
11
     The Debtors are not assuming any joint venture or similar agreements with the applicable contract counterparties.



8926338
